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James Garretson (00:01):
What's up?

Speaker 2 (00:03):
What's going on with you, bro?

James Garretson (00:04):
What's going on?

Speaker 2 (00:07):
Man, chilling man, where you at, Wood?

James Garretson (00:09):
Oklahoma today.

Speaker 2 (00:10):
Fuck.

James Garretson (00:17):
Why?

Speaker 2 (00:17):
[inaudible 00:00:17]

James Garretson (00:17):
For what?

Speaker 2 (00:19):
Because I miss your butt.

James Garretson (00:21):
Got any schemes?

Speaker 2 (00:26):
What you want me to do?

James Garretson (00:32):
I don't know. See if you can find me a goddamn person to get some jet skis on James Woods.

Speaker 2 (00:34):
Okay.

James Garretson (00:37):

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With that I.D.

Speaker 2 (00:41):
Okay, so you know what I just noticed? You know how I was hit, though, with the fucking car, well it was
a truck, you know I was like, "shit I could probably do that with the skis", you know what I'm saying?
Because he was like, well why don't you just go ahead and let him do it himself and you don't even have
to do it, you know what I'm saying?

James Garretson (01:01):
See if we can get some today, if you give me a pair I'll give you 1,500 bucks cash today.

Speaker 2 (01:07):
If I can get doubles?

James Garretson (01:09):
Yeah, I'm fixing to go buy and buy a fucking [inaudible 00:01:12] pair, but I'll give you 1,500 cash today if
you get a pair.

Speaker 2 (01:16):
Okay, let me go see what's up right now.

James Garretson (01:18):
All right, cash today.

Speaker 2 (01:20):
Got you.

James Garretson (01:23):
All right. [inaudible 00:01:23]




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